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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 CHRISTINE A. NYGREN                          Civil Action No. 20-cv-

                         plaintiff,           Section          Division

 versus                                       District Judge

 DOLLAR TREE, INC., DOLLAR TREE               Magistrate Judge
 STORES, INC., DOLLAR TREE MAN-
 AGEMENT, LLC, AND DOLLAR
 TREE MANAGEMENT, INC.,

                        defendants.


                                       COMPLAINT

       Christine A. Nygren (“Chris”) supports her right to recover from her former em-

ployer with these legal and factual allegations:

                               PREFATORY STATEMENT

1.     Chris seeks to hold her employer of 21 years accountable, under federal and state

       law, for:

       a.     firing her for not complying with a discriminatory relocation policy it unlaw-
              fully enforced only against its oldest employees;

       b.     intensifying its already-discriminatory “policy” (and firing her) in retaliation
              against her after she complained about age-based discrimination;

       c.     harassing her when she refused to comply with the age-based quid pro quo
              the employer offered; and

       d.     creating a hostile work environment in the months before her employment
              termination.




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                                                       PARTIES

2.       Chris is a natural person of the full age of majority; all material times she has resided

         and kept her domicile in Jefferson Parish, Louisiana.

3.       Made defendant is Chris’s former employer:

         a.       Dollar Tree, Inc. (“DTI”) is a business incorporated in and under the laws of
                  the State of Virginia, with a principal place of business in Chesapeake, Vir-
                  ginia;

         b.       Dollar Tree Management, LLC (“Management LLC”) is a limited liability
                  company organized in and under the laws of the State of Virginia. Manage-
                  ment LLC is the survivor-by-conversion from co-defendant Dollar Tree Man-
                  agement, Inc., by Plan of Entity Conversion effective February 1, 2020. Upon
                  information and belief, none of DT Management LLC’s members are citizens
                  of the State of Louisiana;

         c.       Dollar Tree Management, Inc. (“Management Inc.”) is or was a business in-
                  corporated in and under the laws of the State of Virginia. Management Inc.
                  was converted to co-defendant Management LLC, by Plan of Entity Conver-
                  sion effective February 1, 2020. Management Inc.’s principal place of busi-
                  ness was in Chesapeake, Virginia;

         d.       Dollar Tree Stores, Inc. (“Stores Inc.”) is a business incorporated in and un-
                  der the laws of the State of Virginia, with a principal place of business in
                  Chesapeake, Virginia, licensed to do and doing business in the State of Loui-
                  siana;

         e.       The defendants named in ¶ 3.a-d, above, will be collectively, “Dollar Tree”
                  in these allegations. 1

                                                  JURISDICTION

4.       Subject matter. The Court has 28 U.S.C. § 1331 (federal question) original jurisdic-

         tion over Chris’ Age Discrimination in Employment Act (“ADEA”) and related re-

         taliation and harassment claims (“ADEA claims”).


1
 Although Chris was hired by Dollar Tree, Inc., paid by       Chris’ real employer. Chris has no reason to believe this
Dollar Tree, Inc., and offered the “relocate or be fired”     is true, but out of an abundance of caution, names any
deal by Dollar Tree, Inc., Dollar Tree suggested in its       entity she believes might have been her employer.
EEOC response that Dollar Tree Management, Inc. was

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5.         For Chris’s Louisiana Employment Discrimination Law (“LEDL”) age discrimina-

           tion 2 and related state law retaliation 3 claims:

           a.        supplemental subject matter jurisdiction exists under 28 U.S.C. § 1367(a) be-
                     cause the state law claims are so related to her ADEA claims that they form
                     part of the same Article III case or controversy; and

           b.        subject matter jurisdiction also exists under 28 U.S.C. § 1332(a), where the
                     amount in controversy, exclusive of fees and costs, exceeds $75,000 and there
                     is complete diversity of citizenship between Chris, a Louisiana citizen, and
                     the defendants, none of which are Louisiana citizens.

6.         In personam. The Court may exercise jurisdiction over these defendants because they

           regularly transact business in Louisiana, they regularly employ Louisiana citizens to

           do their work, they have committed tortious acts within Louisiana creating the

           causes of action here, and they derive substantial revenue from their Louisiana-fo-

           cused efforts.

7.         Because the defendants do business in Louisiana through a Louisiana-registered en-

           tity (Stores, Inc.) who has appointed a registered agent for service of process within

           this state, they’re “present within Louisiana” at this suit’s commencement.

8.         As shown above, these defendants have established minimum contacts with Louisi-

           ana, arising both from this case’s specific facts and from Dollar Tree’s general,

           longstanding activities aimed at this state, so that the exercise of jurisdiction over

           them comports with the requirements of fair play, substantial justice, and the Four-

           teenth Amendment to the Constitution of the United States.




2                                                       3
    La. Rev. Stat. § 23:312 et seq.                         La. Rev. Stat. § 51:2256 et seq.


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                                          VENUE

9.    Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(2) because Dollar

      Tree employed Chris within (Jefferson Parish) this judicial district, Dollar Tree exe-

      cuted its discriminatory scheme against Chris and terminated her employment from

      within (same) this judicial district. So a substantial part of the events or omissions

      giving rise to the claims asserted in this lawsuit occurred in this judicial district.

                                  PROCEDURAL AND
                               STATUTORY PREDICATES

10.   In 2018 and 2019, each of the named defendants employed more than 20 full-time

      employees; in the alternative these defendants constitute a single enterprise for

      ADEA and related state law liability.

11.   And, in 2018 and 2019, when it discriminated against, harassed, and terminated

      Chris, Dollar Tree was her ADEA and LEDL employer.

12.   Dollar Tree HR Vice President Steve Schumacher terminated Chris’ employment on

      April 5, 2019.

13.   Before she was terminated, and continuing through post-termination, Chris notified

      Dollar Tree management in writing of the alleged discrimination, she tried to ami-

      cably resolve this matter, and she revealed to Dollar Tree that she intended to pur-

      sue this in Court, all of which were more than 30 days before this complaint’s filing.

14.   On October 23, 2019, within 300 days of her termination and Dollar Tree’s last

      adverse employment action, Chris filled out an intake questionnaire and filed an

      EEOC Charge of Discrimination with the EEOC New Orleans Field Office (which,

      because of work-sharing agreement with the Louisiana Commission on Human


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      Rights, was automatically accepted for filing with the LCHR, terminated, and re-

      ferred to the EEOC for processing) alleging that Dollar Tree discriminated against

      and wrongfully terminated her in violation of the ADEA and Louisiana law [EEOC

      No. 461-2020-00205].

15.   On August 10, 2020, the EEOC issued Chris a Notice of Right to Sue in EEOC No.

      461-2020-00205.

16.   Chris timely makes this Complaint within 90 days of her receipt of EEOC’s Notice

      of Right to Sue.

                                        FACTS

PARTIES.

17.   Chris is an unemployed 71-year-old human resources (HR) professional; her chil-

      dren are grown and live with their own children in Louisiana.

18.   Dollar Tree, headquartered in Chesapeake, Virginia, describes itself as “the largest

      and most successful single-price-point retailer in North America, operating thou-

      sands of stores across 48 contiguous states and five Canadian provinces, supported

      by a solid and scalable logistics network.” Dollar Tree operates 15,000+ stores

      across the 48 contiguous states and five Canadian provinces, supported by a coast-

      to-coast logistics network.

19.   Dollar Tree, which employs more than 193,000 people, reported “record net sales

      of $23.61 billion” in its 2019 Annual Report.

CHRIS’ SERVICE TO DOLLAR TREE.

20.   Dollar Tree hired Chris on in 1997 as a full-time District Manager for $34,000 an-

      nual salary.

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21.   Months later, when Dollar Tree de-centralized its HR for the first time, Chris agreed

      to work as a Field Human Resources Manager for $38,000 salary.

22.   In 1998 and 1999, Dollar Tree upped Chris’ salary to $40,500 and $43,750 as she

      continually received “meets” or “exceeds” year-end evaluations. At this point, Chris

      took the initiative to become the only Dollar Tree employee certified by the Society

      for Human Resource Management.

23.   In 2000, Chris was again promoted, this time to Regional Director of Operations.

      Her pay increased to $55,000, with a subsequent “meets” 6-months evaluation in-

      creasing her base salary to $60,000.

24.   Dollar Tree promoted Chris again on in 2001, this time to serve as Zone Human

      Resource Director for $70,000 in salary. Although she’s held this position since

      2001, her “zone” assignments and responsibilities have varied considerably accord-

      ing to Dollar Tree’s shifting whims, sometimes to accommodate less-qualified and

      younger employees or applicants.

25.   Chris often responded to positive evaluation commentary by explaining that Dollar

      Tree wasting her talent and experience. Even worse, she complained Dollar Tree was

      paying her less than it was paying newer, younger professionals (e.g. a much younger

      employee who’d taken the Regional Operations Director position from which Dollar

      Tree had “promoted” her).

26.   When Dollar Tree fired Chris, she’d just gotten a “meets expectations” review, she

      was awarded all her stock grants and bonuses, and her gross pay exceeded $220,000

      annually.




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DOLLAR TREE’S DISPARATELY ENFORCED RESIDENCE POLICY.

27.   Dollar Tree’s approach toward its Zone HR Directors and Vice Presidents’ residence

      has been, at all times relevant, fluid and with no discernable company-wide policy.

28.   During Chris’ time as Zone HR Director she always lived in the Greater New Orle-

      ans area (Zone 2), but she was at different times assigned to serve Zone 3 (Upper

      Midwest U.S.) and later the newly created Zone 5 (Southwest and Mountain United

      States).

29.   It wasn’t uncommon for Dollar Tree to “promote around” Chris, favoring younger

      workers with better Zones. Dollar Tree even moved Chris’ Zone so a manager Chris

      had trained several years earlier would have her preferred home, in the Zone where

      Chris lived.

UNWRITTEN JULY 2018 DEMAND.

30.   In July 2018, when Chris’ new supervisor (Steve Schumacher, HR Vice President)

      phoned Chris that that she would need to pack up her belongings and move into her

      Zone or Dollar Tree would fire her in February 2019.

31.   Chris found the policy strange, because she’d be forced to move out of the New

      Orleans area (from which she’d previously served Zones 2, 3, and 5) and somewhere

      into Zone 5, which included parts of Louisiana, Texas, Arkansas, Oklahoma, Kan-

      sas, Nebraska, North and South Dakota, Colorado, New Mexico, Arizona, Utah,

      Nevada, Montana, Wyoming, and Idaho.

32.   But as she discussed things with her co-workers, Chris learned:

      a.     the Zone HR Directors ordered to “move or be fired” were the oldest three
             (56, 65, 69); and



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      b.     the second-oldest Zone HR director (65), who actually lived in his Zone, was
             told he needed to move out of his Zone or he’d be fired.

CHRIS COMPLAINS.

33.   The next day, Chris explained phoned her chain of command and memorialized the

      calls with an email to Dollar Tree’s then-President and CEO (Gary Philbin) and Bob

      Sasser (former Dollar Tree CEO; then Dollar Tree Executive Director of Board of

      Directors) relaying what her supervisor had told her.

34.   Chris complained that only the oldest three Zone HR Directors (56, 65, and 69)

      were given the “move or be fired” ultimatum. After Dollar Tree’s previous approach

      toward her and where she lived, Chris explained to the executives “[t]his is not how

      I thought I would ever be treated at Dollar Tree.”

35.   Philbin responded by July 17, 2018 email to Chris:

             The hiring/training/retaining of talent will be a different ballgame
             over the near future as the unemployment landscape has dramatically
             changed. The need to be in the markets, close to the leadership you
             and the team Interacts with will never be greater than now and up-
             coming years. We haven’t done this without considering all of the
             moving pieces involved and of course the impact on our people.

36.   Despite Dollar Tree’s professed newfound hiring/training/retaining principles, Chris

      also knew that one of two Dollar Tree “Field Training Managers” (which were her

      peers comparatively, too) wasn’t required to live in their Zones: he lived in Dallas

      but didn’t even manage in that Zone (5; he managed East Coast: Zones 1, 2, and 6).

DOLLAR TREE’S UNCLEAR INTENTIONS.

37.   On July 18, 2018, Chris asked her supervisor (Schumacher) to forward the details

      on relocation because she wanted to consider relocation into her Zone.




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38.   Schumacher tried to dissuade Chris, explaining “there is a 2-year commitment or

      [relocation expenses] must be re-paid.”

39.   That same day, Chris said she was interested in relocating to Houston – it’s in Zone

      5 and Chris’ daughter lived in Houston but was determining whether to move back

      to New Orleans to be closer to family.

40.   Schumacher said nothing in response.

DOLLAR TREE MISREPRESENTS CHRIS’ POSITION.

41.   Rather than discussing Chris’ potential move into her Zone, Schumacher drafted a

      letter offer which he forwarded her on September 7, 2018:

             As we have discussed, Dollar Tree decided that all Zone Hu-
             man Resources Directors should reside in the geographic area
             that they support. You have decided not to relocate to your
             Zone and instead have asked to continue your employment un-
             til you retire in April 2019.

42.   Chris repeatedly conveyed she wasn’t interested in retiring, and she told Schumacher

      that she’d consider moving into her Zone but wanted to discuss it further.

43.   Schumacher did nothing to correct the issue or clarify anything for Chris.

DOLLAR TREE’S CONTINUED OBFUSCATION.

44.   In response to another aged Zone HR Director’s concern that he’d be without af-

      fordable health insurance for his wife after he was fired (or forced to “retire”) for

      not relocating, Dollar Tree updated its offer to the “old employees” on October 4,

      2018 to include a few months of Dollar Tree-provided COBRA payments, which

      Schumacher discussed and forwarded to Chris on October 5, 2018.




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45.    Still, Schumacher was silent about Chris’ relocation, which she’d mentioned in July,

       and the revised “move or retire” letter still confirmed that Dollar Tree’s relocation

       requirement was “to your Zone.”

46.    There was no indication other indication that Dollar Tree was requiring Chris to

       move anywhere other than “into her Zone” or “into the geographic area that [she]

       support[ed],” here Zone 5 (which included Houston).

DOLLAR TREE CHANGES ITS PRINCIPLES.

47.    Even though Chris had been asking about Houston since mid-July 2018, and even

       though Dollar Tree had put its “policy” (Zone HR Directors need to live in their

       Zone) into two different written offers, Dollar Tree waited until the first week of

       October to “revise” those principles.

48.    After all, Dollar Tree’s first stab at culling out the older workers with the discrimi-

       natory “move into your Zone” policy didn’t work – and Chris had begun to com-

       plain.

49.    She was even showing signs of wanting to stick around by complying.

50.    At some point between October 4 and October 9, Schumacher phoned Chris that

       Dollar General wasn’t just requiring its Zone HR Directors to live in their Zone (as

       it stated in the September and October separation offers), but that they must also

       live in the same city as their Zone VP.

51.    For Chris, that would mean Dallas. This had never been discussed.

52.    Not in July. Not in August. Or even September.




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53.    Chris found Dollar Tree’s shifting policy reasons disingenuous, mostly because only

       the three oldest (56, 65, 69) of the six Zone HR Directors had to abide by the “pol-

       icy.”

54.    But more practically, Chris knew none of the other Zone HR Directors lived in the

       same city as their Zone VP. And at least one of the Zone HR Directors didn’t even

       live in their Zone. None of her younger comparators were given the “relocate or

       retire (be terminated)” “option.”

        Zone   VP residence      HR Dir. Resi-     Approx. HR   Required to move?
               (zone)            dence (zone)      Dir Age
        1      Norfolk (6)       Connecticut (1)   52           No
        2      Norfolk (6)       Norfolk (6)       65           Yes
        3      Chicago (3)       Norfolk (6)       56           Yes
        4      NorCal (4)        SoCal (4)         55           No
        5      Dallas (5)        New Orleans (2)   69           Yes
        6      Norfolk (6)       Ohio (6)          45           No

55.    On October 9, 2018, Chris wrote Dollar Tree Deputy General Counsel (Corporate)

       Kay Stockwell, conveying that when approached with the “Zone policy” she

       “ask[ed] about moving to Houston . . . Houston is in Zone 5. I , then, was told I

       had to move to Dallas ---city specific. I do not want to retire ---I am being told ---

       move to Dallas or retire.” (emphasis added).

56.    There was no response.

57.    What’s more, despite Chris’ demand, Schumacher resisted putting the “not just

       Zone, but also Zone VP residence” “move or retire” demand into writing.

58.    Finally, though, Schumacher passed along a letter amending Chris’ “offer” on Oc-

       tober 16, 2018 to read:

               Dollar Tree decided that all Zone Human Resources Directors
               should reside in the geographic area that they support, specifi-
               cally Dallas for Zone 5. You have decided not to relocate to

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              Dallas and instead have asked to continue your employment
              until you retire in April 2019.

59.    Of course, everyone knew Chris didn’t want to retire and the letter was a complete

       misrepresentation.

60.    More than once, Chris begged for an explanation from anyone who would listen.

       She even brought the matter up at late January 2019 Zone/Regional Director (1/21-

       1/24) and HR/Zone HR (1/24-1/25) meetings, specifically directing the problem of

       forced relocation or forced retirement to Dollar Tree’s Chief Human Resources Of-

       ficer, Betty Click on January 24, 2019.

61.    Click’s response was that, as the HR boss, she had no control over the operations-

       side of things at Dollar General, preferring to characterize the “move or retire” pol-

       icy, which Dollar Tree is not enforcing against its younger Zone HR Directors, as

       an “operations” directive, rather than an HR matter.

62.    The problem with Dollar Tree’s “policy” isn’t that it requires relocation, it’s that it’s

       only being enforced against individuals protected by the ADEA – while younger

       comparators enjoy continued employment without the “move to your Zone VP’s

       town (or even into your Zone at all in some cases) or be fired” edict.

63.    Indeed, so arbitrary was the Dollar Tree non-policy that Chris’ 65-year-old

       coworker was fired for not violating (by not relocating away from the city where his

       Zone VP lives) it; while Chris was fired for violating (for not moving to the city

       where her Zone VP lives) it.

64.    Dollar Tree held Chris (69), Jerry Sankey (65), and Terri (56) to a higher standard

       than their 3 younger counterparts, none of whom have been given the “move into



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       your zone or be fired/retired” edict – and all of whom continue to live in different

       cities than their Zone VP (and in at least 1 case, in a different Zone altogether).

HARASSMENT.

65.    As HR Directors (and members of the class protected by ADEA) themselves, Chris

       and the other two individuals being discriminated against knew of the hostile work

       environment which existed at Dollar Tree for older workers.

66.    They knew Dollar Tree so often considered and made decisions based on whether

       an employee “had enough runway.”

67.    They knew about one aged Zone VP being denied a job he wanted and told that he

       needed to “retire and get a hobby.”

68.    And despite Chris’ repeated insistence that she didn’t want to retire, Chris for

       months knew Dollar Tree would force it on her.

69.    It wasn’t just the separation agreements Dollar Tree directed at her, mischaracteriz-

       ing her resistance to move to satisfy a policy which wasn’t even real.

70.    Instead, it was more humiliating things. Things like gifts, faux “retirement parties”

       for Chris and Sankey – or management-generated poems celebrating their “retire-

       ment” which were circulated by email to an army of colleagues who well knew these

       two were being fired:

                Upcoming Retirements of Chris Nygren and Jerry Sankey

                                Amber Lantern Restaurant
                                   January 24, 2019

              It’s time for a toast of wine
              To celebrate Chris and Jerry approaching the finish line
              Both are about to conclude wonderful careers in Operations
              and HR that were mighty fine

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              And tonight they have the spotlight to shine
              Looking back over years when they had to read each sign
              Trying to decipher what came at them directly and what was
              received over the grapevine
              Working to make Operations and associates effectively com-
              bine
              And taking partners to be certain everything would align
              Now they get to feel great satisfaction in what they were able
              to design
              And as part of the process experience the wonderful feeling of
              being on cloud nine
              Tomorrow’s newspaper will contain an important headline
              “After decades of hard work Chris Nygren and Jerry Sankey
              finally get to relax and recline”

CHRIS IS FIRED.

71.    At all times relevant to this lawsuit, including at the time of Chris’ termination, her

       immediate supervisor was Dollar Tree’s Vice President of Human Resources, Steven

       Schumacher.

72.    At all times relevant to this lawsuit, including at the time of Chris’ termination,

       Schumacher was Dollar Tree’s final decision-maker and Dollar Tree gave him the

       authority to terminate Chris’ employment if she didn’t submit to the discriminatory

       “move or be fired” policy Dollar Tree only enforced against its oldest Zone HR

       Directors.

73.    And, after Chris, through undersigned and in February 2019, tried to resolve this

       dispute, informing Dollar Tree of her intention to sue for discrimination, Schu-

       macher did in fact fire her on April 5, 2019.




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AFTERMATH.

74.    For almost a year before she was fired, Chris watched while younger HR directors

       were being permitted to live in different cities than their Zone VP (and, in at least

       one of her younger comparators’ cases, outside the Zone altogether).

75.    Despite Chris’ plaintive emails informing Dollar Tree executives and its Deputy Gen-

       eral Counsel she did not want to retire, Dollar Tree’s unlawful conduct was also

       severe and pervasive enough to change Chris’ condition of employment and create

       an abusive and hostile work environment.

76.    Chris cannot unlearn that Dollar Tree views and speaks of employees her age as “not

       having much runway left” – and she can’t forget the treatment Dollar Tree gave her

       (even younger, but still aged) coworker when he aspired a promotion (“you need to

       retire and get a hobby”).

77.    Neither will Chris be able to forget months of Dollar Tree’s initiation or prompting

       of “retirement” congratulations, parties, customized cakes, and even poetry describ-

       ing the faux “retirement.” Chris has been humiliated. She spent months seeing her

       job posted online.

78.    And every aging worker’s dream, retirement after a successful and rewarding career,

       will never become a reality for Chris. Despite her 21 years of devotion and her re-

       tirement goal being but 6 years away, she was fired for not complying with a policy

       not required of her younger comparators.

79.    Before it fired her, and in response to Chris’ amicable demand to settle, Dollar Tree’s

       noted its highly conditional, “grant of Chris’ request to continue [her] employment

       until [she retires] in April 2019” – this was the final, parting blow. Chris had, for


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       many months revealed she didn’t want to retire and that she felt she was being forced

       out because of her age.

80.    After it fired her, Dollar Tree disputed Chris’ unemployment claims, stating to the

       Louisiana Workforce Commission that she retired and quit.

81.    Upon information and belief, based on the facts and circumstances described

       throughout this lawsuit, Schumacher and Dollar Tree terminated Chris’ employment

       in violation of the ADEA, they knew this conduct was illegal under the ADEA, and

       they purposefully violated the ADEA despite this knowledge.

82.    This is particularly true where Chris, in writing and in person, repeatedly raised the

       issue with Dollar Tree’s CEO, its HR head, and even its corporate counsel, all with

       no meaningful response.

83.    Based on the circumstances, Schumacher (and his superiors involved in this decision-

       making process) retaliated against Chris, both by intensifying the discriminatory

       “policy” (from “Zone” to “VP’s city of residence”) for her and by terminating her

       employment, while acting at Dollar Tree’s request or as Dollar Tree’s bona fide agent

       and within the course and scope of their employment duties.

84.    Dollar Tree is thus liable for all the discriminatory and retaliatory adverse employ-

       ment actions alleged in this case.

85.    After Dollar Tree terminated Chris, she lost her employment, income, medical insur-

       ance, stock grant potential, and other fringe benefits.

86.    Chris earnestly searched for replacement work right after her termination.

87.    Chris cannot find any replacement work, and she’s gotten no employment offers for

       about a year and a half after Dollar Tree terminated her employment.


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88.    Chris would have worked until age 75 and thus she is out a significant sum of lost

       wages, benefits, and out-of-pocket expenses incurred because of Dollar Tree’s un-

       lawful discrimination, harassment, retaliation, and termination.

89.    Chris also has suffered intense emotional distress, mental anguish, loss of enjoyment

       of life, fear related to the loss of her health insurance, all of which have been caused

       by Dollar Tree’s unlawful termination (and related) decision(s).

                                    COUNT ONE:
                      Age-Based Disparate Treatment Discrimination
                         Age Discrimination in Employment Act
                                [29 U.S.C. § 621 et seq.]

90.    Chris incorporates her earlier allegations by reference to state a cause of action of

       unlawful disparate treatment discrimination under the ADEA, as amended, against

       Dollar Tree.

91.    Under the ADEA, an employer may not “discharge any individual or otherwise dis-

       criminate against any individual . . . because of such individual’s age.” 29 U.S.C. §

       623(a).

92.    To prevail for discriminatory discharge under the ADEA, plaintiff must prove “that

       age was the ‘but-for’ cause of the challenged employer decision.” Williams v. Waste

       Mgmt., Inc., 818 Fed. Appx. 315, 318-19 (5th Cir. 2020).

93.    For now, Chris points to circumstantial evidence of discrimination, triggering “the

       burden-shifting framework first articulated in McDonnell Douglas for Title VII

       claims of employment discrimination.” Id. (internal citations omitted).

94.    Under the applicable burden-shifting framework, plaintiff must first establish a

       prima facie case that he was:



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       a.      discharged;

       b.      qualified for the position;

       c.      within the protected class when discharged;

       d.      and . . . discharged because of her age. Id. (citation omitted).

95.    If Chris establishes that prima facie “the burden shifts to [Dollar Tree] to articulate

       a legitimate, nondiscriminatory reason for the termination.”

96.    In the Fifth Circuit, a replacement worker or comparator who is five years younger

       than the plaintiff may be “significantly” younger.

97.    A private employer who willfully discriminates against an employee based on the

       employee’s age is liable for the employee’s lost back wages, lost future wages, com-

       pensatory damages, liquidated damages, litigation costs, and reasonable attorney’s

       fees.

98.    Chris was fired from a job she held without incident, having been promoted from a

       $34,000 salary to over $220,000 in pay at termination, when she was 69 years old,

       for not complying with a policy which wasn’t enforced against her younger compar-

       ators [Zone HR Directors and Field Training Managers, all of which were at least 5

       years younger than Chris].

99.    And as further disparate treatment, there was even discrimination within the class

       of aged employees being told to “relocate or retire” where the youngest of the three,

       a full 10+ years younger than Chris or her 65-year-old coworker, could look for

       another job within Dollar Tree while Chris and the 65-year-old coworker were de-

       nied the opportunity.




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100.    Chris specifically alleges that Dollar Tree terminated her because of her age, and that

        the facts will show that Dollar Tree never intended to, nor did it, enforce the reloca-

        tion “policy” against Chris’ younger comparators.

101.    And despite Chris’ complaints all the way up the Dollar Tree chain of command, it

        never corrected its treatment of her, and terminated her anyway.

102.    Thus, Dollar Tree owes Chris her lost back wages, lost future wages, liquidated

        damages, litigation costs, and reasonable attorney’s fees arising from Dollar Tree’s

        unlawful termination decision.

                                      COUNT TWO:
                                        Retaliation
                           Age Discrimination in Employment Act
                                     [29 U.S.C. § 623(d)]

103.    Chris incorporates her earlier allegations by reference to state a cause of action of

        retaliation under the Age Discrimination in Employment Act (ADEA), as amended,

        against Dollar Tree.

104.    To state a prima facie retaliation claim under the ADEA, a plaintiff must show: “(1)

        that he engaged in a protected activity, (2) that there was an adverse employment

        action, and (3) that a causal link existed between the protected activity and the ad-

        verse employment action.” Heggemeier v. Caldwell Cty., Texas, 826 F.3d 861 , 869

        (5th Cir. 2016).

105.    Here, after Chris complained about what she felt was a Dollar Tree “policy” only

        being enforced against aged workers, Dollar Tree retaliated by:

        a.     intensifying its already discriminatory “policy” (now she wouldn’t just have
               to move into her Zone; she’d be fired if she didn’t move into her Zone VP’s
               residence city);



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        b.     denying her the ability to find alternate employment; and

        c.     terminating her.

                                     COUNT THREE:
                           Age-Based Quid Pro Quo Harassment
                           Age Discrimination in Employment Act
                                 [29 U.S.C. § 621 et seq.]

106.    Chris incorporates her earlier allegations by reference to state a cause of action of

        age-based quid pro quo harassment under the ADEA.

107.    It is unlawful for an employer to discriminate against an employee because the em-

        ployee refuses to participate a supervisor’s discriminatory policies.

108.    Chris’ immediate superior Steve Schumacher made two discriminatory proposals to

        Chris and resisted putting the details of either into writing until he was sure she’d

        rejected them:

        a.     first, he proposed Chris comply with a policy where Zone HR Directors
               would be fired for not relocating into their Zone, a policy that only affected
               the three oldest (56, 65, 69) workers;

        b.     and then, after Chris showed interest in complying, he proposed Chris comply
               with a policy where Zone HR Directors would be fired for not relocating into
               the city where their Zone VP lived – a policy which none of Chris’ younger
               (45, 52, 55) aged comparators had to satisfy.

109.    Chris rejected Schumacher’s proposals.

110.    Dollar Tree fired Chris.

111.    Dollar Tree fired Chris because she rejected the “relocation policy/policies” he pro-

        posed to her.

112.    Under comparable Title VII quid pro quo law, Chris doesn’t have to prove that her

        rejection of the proposals was the only reason Dollar Tree fired her. But she must,




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        and she will, prove that Dollar Tree’s decision to fire her wouldn’t have occurred if

        she’d just complied with Schumacher’s discriminatory relocation proposals

113.    And when Dollar Tree gives the fact finder its reason for firing Chris, if that fact

        finder isn’t satisfied, it may infer that Dollar Tree wouldn’t have fired her but for

        her rejection of Schumacher’s discriminatory relocation policy demands.

                                    COUNT FOUR:
                     Age-Based Hostile Work Environment Harassment
                          Age Discrimination in Employment Act
                                [29 U.S.C. § 621 et seq.]

114.    Chris incorporates her earlier allegations by reference to state a cause of action for

        age-based hostile work environment harassment under the ADEA.

115.    Chris is over the age of 40 and Dollar Tree, to advance its discriminatory plan to

        eliminate its very oldest HR Directors, including Chris, told them they’d have to

        move to avoid being fired.

116.    When they asked for more information, Dollar Tree memorialized a “deal” that had

        never been discussed, the terms of which misleadingly intimated that the aged em-

        ployees had essentially begged for a few months’ time before they “retired.”

117.    And then, even after Chris voiced her objections to the highest levels at Dollar Tree,

        even to its corporate counsel, her superiors continued to make reference to decisions

        being made based on employees “length of runway” (or lack thereof), to which Chris

        objected (to her supervisor Steve Schumacher).

118.    And for months preceding her termination, and despite everyone knowing that Chris

        wasn’t voluntarily leaving, her superiors issued faux congratulations, staged sham

        dinners, and wrote poetry circulated by email to all Chris’ colleagues.



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119.    The conduct, under the circumstances, was extremely insensitive, it was something

        more than simple teasing or offhand comments – it was most of a year of mistreat-

        ment that was objectively and subjectively shocking and it changed Chris’ entire

        outlook on her role at Dollar Tree.

                                      COUNT FIVE:
                       Age-Based Disparate Treatment Discrimination
                        Louisiana Employment Discrimination Law
                              [La. Rev. Stat. § 23:312 et seq.]

120.    Chris incorporates her earlier allegations by reference to state a cause of action for

        unlawful disparate treatment based on age under Louisiana law.

121.    Under Louisiana’s Employment Discrimination Law, no employer may discriminate

        against an employee based on her age. La. Rev. Stat. § 23:312 et seq. Louisiana’s

        anti-age-discrimination statute is modeled after the ADEA, and therefore analysis of

        the two statutes are functionally identical. See e.g., Stewart v. Smitty's Supply, Inc.,

        2020 WL 433362 (E.D. La. 2020).

122.    Accordingly, for all the reasons stated throughout this complaint, and specifically

        incorporating the analysis of plaintiff’s claims of unlawful disparate treatment dis-

        crimination under the ADEA, Dollar Tree is liable to Chris for all her damages aris-

        ing from CSAL’s unlawful discrimination, including lost back wages, lost future

        wages, reinstatement, compensatory damages, litigation costs, and reasonable attor-

        ney’s fees.




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                                       COUNT SIX:
                                         Retaliation
                         Louisiana Employment Discrimination Law
                              [La. Rev. Stat. § 51:2256 et seq.]

123.    Chris incorporates her earlier allegations by reference to state a cause of action re-

        taliation under the LEDL and La. Rev. Stat. § 51:2256 et seq.

124.    Under La. Rev. Stat. Ann. § 51:2256 et seq., no employer may “retaliate . . . in any

        manner against a person because he has opposed a practice declared unlawful under

        [the LEDL].”

125.    Louisiana’s anti-discrimination statutes are generally modeled after federal law, and

        therefore analysis of the two statutes are functionally identical.

126.    Accordingly, for all the reasons stated throughout this complaint, and specifically

        incorporating the analysis of plaintiff’s claims of unlawful disparate treatment dis-

        crimination under the ADEA, Dollar Tree is liable to Chris for all her damages aris-

        ing from Dollar Tree’s unlawful retaliation, including lost back wages, lost future

        wages, reinstatement, compensatory damages, litigation costs, and reasonable attor-

        ney’s fees.

                      JURY TRIAL REQUEST; REQUEST FOR RELIEF

127.    Chris demands a jury to hear any issue so triable.

128.    Plaintiff Christine A. Nygren, requests this complaint be considered good and suffi-

        cient, that it be assigned a cause number, a section, and division, and that after all

        delays are had, that there be a jury trial on all available issues, and that the Court

        issue judgment for the plaintiff, and against the defendant(s), for all manner of relief

        available, including above-described lost back wages, lost future wages, statutorily-



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 uncapped (and likely mandatory) liquidated damages, litigation costs, expansion of

 the back pay remedy due to negative tax consequences, certain fringe benefits, rein-

 statement, compensatory damages, and reasonable attorney’s fees and costs of this

 litigation, along with pre- and post-judgment interest, and for all other relief war-

 ranted, all premises considered, whether contractual, legal, equitable, injunctive or

 customary.

                                    Respectfully submitted,

                                       /s/ Andrew T. Lilly
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